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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: GEISINGER HEALTH AND                        No. 4:21-CV-00196
EVANGELICAL COMMUNITY
HOSPITAL HEALTHCARE                                (Chief Judge Brann)
WORKERS ANTITRUST
LITIGATION

                                  ORDER

     AND NOW, this 16th day of November 2021, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.   Defendants’ motion to dismiss pursuant to Federal Rule of Civil

          Procedure 12(b)(6) (Doc. 51) is DENIED IN PART AND

          GRANTED IN PART, as follows:

          a.    DENIED as to Plaintiffs’ first claim for relief, which alleges a

                Sherman Act violation.

          b.    GRANTED WITH PREJUDICE as to Plaintiffs’ second

                claim for relief, which alleges a Pennsylvania law violation.

     2.   Defendants’ motion to strike class allegations (Doc. 51) is DENIED.

     3.   Further leave to amend is not granted.

     4.   Defendants’ request for oral argument (Doc. 64) is DENIED AS

          MOOT.
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5.   Defendants shall file an Answer to the surviving claim in Plaintiffs’

     Amended Complaint (Doc. 46) on or before December 7, 2021.

                                     BY THE COURT:


                                     s/ Matthew W. Brann
                                     Matthew W. Brann
                                     Chief United States District Judge




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